January 12, 2006


Mr. Don M. Dean
Underwood Wilson Berry Stein &amp; Johnson
P. O. Box 9158
Amarillo, TX 79105-9158
Ms.  Donna  G.  Davidson
Potts &amp; Reilly, L.L.P.
401 West 15th Street, Suite 850
Austin, TX 78701

RE:   Case Number:  06-0025
      Court of Appeals Number:
      Trial Court Number:

Style:      IN RE  ANETTE CARLISLE

Dear Counsel:

      Today the Supreme Court of Texas issued  the  enclosed  order  in  the
above-referenced case.


                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
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